               Case 2:21-cv-00953-JCC Document 25 Filed 11/29/21 Page 1 of 2




                                                       THE HONORABLE JOHN C. COUGHENOUR
 1

 2

 3

 4

 5

 6
                                 UNITED STATES DISTRICT COURT
 7
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE

 9    C.N. ROMTEHNICA, S.A.,                               CASE NO. C21-0953-JCC
10                           Petitioner,                   MINUTE ORDER
11            v.

12    P.W. ARMS, INC.,

13                           Respondent.
14

15          The following Minute Order is made by direction of the Court, the Honorable John C.
16   Coughenour, United States District Judge:
17          Before the Court is Respondent’s motion for reconsideration (Dkt. No. 20) of the Court’s
18   order denying Respondent’s motion to dismiss (Dkt. No. 19). Respondent asserts the Court
19   committed manifest error when it assumed the parties had no knowledge of the Romanian
20   arbitration panel’s decision prior to the July 2018 issuance of its award. (Dkt. No. 20 at 2–4.) In
21   support, Respondent cites to the 2014 arbitration rules for the Court of International Commercial
22   Arbitration of the Chamber of Commerce and Industry of Romania (“CICA”), testimony
23   regarding CICA procedures in rendering decisions, and a copy of the May 2018 dispositive
24   ruling. (Id.) None demonstrate that the Court committed manifest error or represent new facts or
25   legal authority which could not have been brought to the Court’s earlier attention without
26   reasonable diligence. See Local Civ. R. 7(h)(1). Accordingly, Respondent’s motion for


     MINUTE ORDER
     C21-0953-JCC
     PAGE - 1
              Case 2:21-cv-00953-JCC Document 25 Filed 11/29/21 Page 2 of 2




 1   reconsideration is DENIED.

 2         DATED this 29th day of November 2021.
                                                   Ravi Subramanian
 3                                                 Clerk of Court
 4
                                                   s/Sandra Rawski
 5                                                 Deputy Clerk

 6

 7

 8
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26


     MINUTE ORDER
     C21-0953-JCC
     PAGE - 2
